    21-11733-lgb      Doc 4     Filed 10/05/21 Entered 10/05/21 17:17:24                 Main Document
                                             Pg 1 of 105



    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re                                                         Chapter 15

    MARKEL CATCO REINSURANCE FUND                                 Case No. 21-11733 (LGB)
    LTD., et al.,

             Debtors in Foreign Proceedings.1                     (Joint Administration Requested)



                   DECLARATION OF KEHINDE GEORGE IN SUPPORT
                   OF THE VERIFIED PETITION FOR (I) RECOGNITION
                OF FOREIGN MAIN PROCEEDINGS, (II) RECOGNITION OF
            FOREIGN REPRESENTATIVES, AND (III) CERTAIN RELATED RELIEF

                   Pursuant to 28 U.S.C. § 1746, I, Kehinde George, hereby declare under penalty of

perjury that the following is true and correct to the best of my knowledge, information, and belief:

            1.     I am Head of Insolvency and a Director of ASW Law Limited (“ASW”) and

Bermuda counsel for the above-captioned foreign debtors (collectively, the “Debtors”), each of

which is incorporated under the laws of Bermuda.

            2.     As of the date hereof, the Debtors are subject to liquidation proceedings in which

provisional liquidators have been appointed for the purpose of restructuring (the “Provisional

Liquidation Proceedings”) under Part XIII of the Companies Act 1981 (as amended, the

“Bermuda Companies Act”), pending before the Supreme Court of Bermuda (the “Bermuda

Court”).




1
      The Debtors are Bermuda companies registered with the Registrar of Companies in Bermuda. The Debtors’
      respective registration numbers are as follows: Markel CATCo Reinsurance Fund Ltd. (50599); CATCo
      Reinsurance Opportunities Fund Ltd. (44855); Markel CATCo Investment Management Ltd. (50576); Markel
      CATCo Re Ltd. (50602). Each of the Debtors has its registered office located at Crawford House, 50 Cedar
      Avenue, Hamilton HM11, Bermuda.
    21-11733-lgb       Doc 4       Filed 10/05/21 Entered 10/05/21 17:17:24                     Main Document
                                                Pg 2 of 105



          3.       As set forth in the Verified Petition (defined below), Debtors CATCo Reinsurance

Opportunities Fund Ltd. (the “Public Fund”) and Markel CATCo Reinsurance Fund Ltd. (the

“Private Fund”) contemplate filing subsequent applications for the sanctioning of schemes of

arrangement under section 99 of the Bermuda Companies Act (the “Schemes”) before the

Bermuda Court (the “Scheme Proceedings,” and together with the Provisional Liquidation

Proceeding, the “Bermuda Proceedings”). The Verified Petition seeks recognition of the

Bermuda Proceedings under chapter 15 of title 11 of the United States Code (the “Bankruptcy

Code”).

          4.       I submit this declaration (this “Declaration”) in support of the Verified Petition for

(I) Recognition of Foreign Main Proceedings, (II) Recognition of Foreign Representatives, and

(III) Certain Related Relief (the “Verified Petition”),2 filed contemporaneously herewith.

          5.       I am over the age of 18 and, except as otherwise indicated, all facts set forth in this

Declaration are based upon my personal knowledge, my opinion based upon my experience and

knowledge of the Debtors and my review of relevant documents or information supplied to me. In

preparing this Declaration, I have reviewed (a) the Chapter 15 Petitions for each of the Debtors,

(b) the Verified Petition, (c) documents prepared or filed in connection with the Bermuda

Proceedings, and (d) relevant provisions of the Bermuda Companies Act and other provisions of

Bermuda law as they relate to chapter 15 of the Bankruptcy Code (“Chapter 15”) and other aspects

of U.S. bankruptcy law referred to in this Declaration. If I were called upon to testify, I could and

would testify competently to the facts set forth herein.

          6.       This Declaration comprises matters that are statements of my view of Bermuda law

or statements of fact. Where the matters stated in this Declaration are statements regarding


2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Verified Petition.

                                                           2
 21-11733-lgb      Doc 4    Filed 10/05/21 Entered 10/05/21 17:17:24            Main Document
                                         Pg 3 of 105



Bermuda law, such statements represent my view of Bermuda law as a barrister admitted and

authorized to practice in Bermuda. Where the matters stated in this Declaration are statements of

fact that are within my personal knowledge, they are true. Where the matters stated in this

Declaration that are statements of fact that are not within my personal knowledge, they are derived,

as appropriate, from documents maintained by the Registrar of Companies of Bermuda, from the

records maintained by ASW as a result of advising the Debtors in connection with the Bermuda

Proceedings, or from information supplied to me by or on behalf of the Debtors, and are true to

the best of my knowledge, information, and belief.


                              PROFESSIONAL BACKGROUND

       7.      I was admitted as a solicitor of the Supreme Court of England and Wales in

September 1985 and was called to the Bermuda Bar in January 1996. I have a Bachelor of Laws

Degree with honours (King’s College, London, 1982). I was employed as a corporate attorney in

firms in the City of London (1983–91) and as a government lawyer in the Department of Trade

and Industry of the UK Government, advising on insolvency (1991–95). I emigrated to Bermuda

in November 1995 and was employed with the law firm of Milligan-Whyte & Smith (1995–99),

before becoming a founding partner in the firm of Attride-Stirling & Woloniecki, the predecessor

firm to ASW, in October 1999. My practice within Bermuda since 1995 has been primarily in the

fields of corporate restructuring and insolvency and related litigation. I have advised liquidators,

provisional liquidators, creditors, shareholders, and regulators in relation to numerous local and

cross-border insolvencies and restructurings and schemes of arrangement.

       8.      I am a member of the Bermuda Bar Association, INSOL, and a member and sit on

the executive committee of the Restructuring and Insolvency Specialists Association (Bermuda

branch).


                                                 3
 21-11733-lgb      Doc 4    Filed 10/05/21 Entered 10/05/21 17:17:24            Main Document
                                         Pg 4 of 105



       9.      My firm, ASW, has been retained by the Debtors in connection with this matter.

       10.     Although I am not a U.S. attorney and thus do not purport to make any statements

concerning matters of U.S. law, I am fairly acquainted with Chapter 15.


                  STATEMENTS OF BERMUDA LAW AND PRACTICE

I.     Sources of Bermuda Law

       11.     Bermuda is a self-governing British Overseas Territory. In common with other

British Overseas Territories and former colonies, English law was introduced to Bermuda at the

date of its settlement in 1612. The system of law in Bermuda is therefore founded on the English

legal system, although there is a distinct body of Bermudian statutory law and Bermudian case law

that has developed over the past 400 years.

       12.     Law and equity are administered concurrently, and in any conflict, the rules of

equity generally prevail.

II.    The Bermuda Court System

       13.     The Bermuda Court is the court of first instance in Bermuda with unlimited

jurisdiction for all civil and commercial disputes with a value in excess of BD$25,000. The

Bermuda Court determines any proceedings relating to the affairs of companies incorporated in

Bermuda under the Bermuda Companies Act. The Bermuda Court is also responsible for the

resolution of insolvency cases in Bermuda.

       14.     The Court of Appeal for Bermuda (the “Court of Appeal”) is the first-tier appellate

court in Bermuda, made up of three judges who usually sit in three sessions per year. It entertains

appeals from the Bermuda Court.

       15.     Appeals against decisions of the Court of Appeal are entertained by the Judicial

Committee of the Privy Council (the “Privy Council”), which, although based in the United


                                                4
 21-11733-lgb      Doc 4    Filed 10/05/21 Entered 10/05/21 17:17:24             Main Document
                                         Pg 5 of 105



Kingdom, is Bermuda’s highest appellate court. The Privy Council is ordinarily made up of a five-

judge tribunal that sits in London. Its composition consists of members of the Supreme Court of

the United Kingdom (formerly the House of Lords, and the highest appellate court for England

and Wales, Scotland, and Northern Ireland), as well as other senior judges from the

Commonwealth jurisdictions.

III.   The Common Law Principle of Precedent Is Applicable in Bermuda

       16.     Bermuda law, following English law in this regard, is based upon the common law

principle of precedent. Under the doctrine of precedent, certain judicial decisions are “binding” on

other judges, and their reasoning or “ratio decidendi” must be followed and applied, unless they

are properly capable of being distinguished. A judge of the Bermuda Court is bound to follow and

apply any relevant decision of the Court of Appeal and any relevant decision of the Privy Council.

The Court of Appeal, in turn, is bound by any relevant decision of the Privy Council. Previous

relevant decisions of the Privy Council are binding on the Privy Council itself, except in

exceptional circumstances. The Privy Council can depart from a previous decision where it is right

to do so, when, for example, the previous decision is thought to be wrong, there have been changes

or developments to the law, or the previous decision is thought to have led to results which were

unjust or contrary to public policy.

       17.     Under the doctrine of precedent, certain judicial decisions, or parts thereof (such as

ex parte rulings or obiter dicta), may be “persuasive,” and, depending on the facts of the case, the

seniority and experience of the tribunal, and the quality of their reasoning, should ordinarily be

followed and applied, unless they are plainly wrong or are properly capable of being distinguished.

In particular, decisions of the Bermuda Court are persuasive and should generally be followed by

other judges of the Bermuda Court.



                                                 5
 21-11733-lgb      Doc 4     Filed 10/05/21 Entered 10/05/21 17:17:24              Main Document
                                          Pg 6 of 105



       18.      Further, Bermudian courts often treat English case law as being persuasive for three

main reasons.

       19.      First, many Bermuda statutes are based upon current or former U.K. legislation.

As a result, decisions of the Superior Courts of England and Wales in respect of provisions of U.K.

statutory law that are identical to or similar to Bermuda law are considered in Bermuda to be highly

persuasive authority.

       20.      Second, the decisions of the United Kingdom Supreme Court on matters of

common law and statutory interpretation are highly persuasive in Bermuda, since the U.K.

Supreme Court, sitting as the highest appellate court for the United Kingdom, and the Privy

Council, sitting as the highest appellate court for Bermuda, share common membership. See De

Lasala v De Lasala [1980] AC 546, 557–58 (PC) (appeal taken from H.K.).

       21.      Third, where issues of common law in Bermuda have not been expressly

considered by the Bermuda courts, the Bermuda courts often find assistance in the consideration

of such issues in reasoned judgments or rulings by judges of the Superior Courts of England and

Wales, whether in the High Court of Justice of England and Wales, the U.K. Court of Appeal, or

the U.K. Supreme Court. Furthermore, depending on the facts and the circumstances (including

the legislative background, the jurisdictional and legal similarities, and the perceived quality of the

tribunal and its reasoning), the Bermuda courts often find assistance in the consideration of issues

in reasoned judgments by judges of the superior courts of other common law and offshore

jurisdictions, such as the British Virgin Islands, the Cayman Islands, Australia, New Zealand,

Hong Kong, Singapore, and Canada. In practice, Privy Council decisions, on appeal from other

common law jurisdictions, are treated as highly persuasive if the relevant common law or

legislation is similar to the law of Bermuda.



                                                  6
 21-11733-lgb        Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24           Main Document
                                          Pg 7 of 105



IV.    Bermuda Insolvency Proceedings

       A.      Provisional Liquidation Proceedings

       22.     As noted above, the Bermuda Court has jurisdiction over the affairs of companies

that are incorporated in Bermuda. A compulsory winding-up proceeding is commenced by the

filing of a petition with the Bermuda Court seeking a winding-up order which, if granted, results

in the liquidation of the company. The liquidation is conducted under the supervision of the

Bermuda Court and is, I understand, roughly analogous to a proceeding under chapter 7 of the

Bankruptcy Code. The Bermuda Court appoints a liquidator who functions in a similar manner to

a chapter 7 trustee.

               1.      Overview and Statutory Framework

       23.     Part XIII of the Bermuda Companies Act is a statutory framework for liquidation

proceedings, which sets the priority for payment of debts and interests upon the distribution of a

company’s assets and gives Bermudian courts the authority to, among other things, (a) stay any

action against an insolvent company, (b) vest an insolvent company’s assets in a liquidator,

(c) require a company’s officers or agents to deliver up or otherwise transfer a company’s property,

including its books and records, to the liquidator, and (d) summon third parties with information

about or property of a company or its affairs to be examined, to produce books and papers, and to

order their apprehension if they fail to appear.

       24.     A petition for a winding-up order may be filed by the company itself or any of its

creditors or shareholders. Companies Act 1981 § 163(1) (Berm.).

       25.     The Bermuda Court has jurisdiction to grant a winding-up order on any of eight

separate grounds, including that:

               (a)     the company (i.e., its shareholders) has resolved that the company shall be
                       wound up by the court;


                                                   7
 21-11733-lgb        Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24           Main Document
                                          Pg 8 of 105



               (b)     the company is unable to pay its debts, taking into account contingent and
                       prospective liabilities; and

               (c)     the court is of the opinion that it is just and equitable that the company be
                       wound up.

       26.     One or more provisional liquidators may be appointed in a compulsory winding-up

immediately after the presentation of the petition for a winding-up order and before the making of

such a winding-up order. If a provisional liquidator is not appointed prior to the making of a

winding-up order, one will be appointed upon the making of the winding-up order. Usually, a

provisional liquidator will remain in office until the Bermuda Court appoints a permanent

liquidator following separate meetings of the shareholders and creditors of the company held after

the making of a winding-up order, at which time they vote on who the permanent liquidator should

be. In practice, the person acting as provisional liquidator will usually be appointed as permanent

liquidator.

       27.     Pursuant to section 167(4) of the Bermuda Companies Act, the appointment of a

provisional liquidator or the making of a winding-up order brings into effect an automatic statutory

stay of actions and proceedings against the company, with the effect that actions may not be

commenced or continued against the company without leave of the Bermuda Court and subject to

such terms as the Bermuda Court may impose. From what I understand of U.S. law, this stay is

similar to the automatic stay provided for under Bankruptcy Code section 362. Pursuant to section

166(1) of the Bermuda Companies Act, any disposition of the property of a company made after

the presentation of a petition for the winding-up of the company is void unless approved by the

Bermuda Court.

       28.     There are other important statutory provisions that come into play in a liquidation.

Present and former officers of the company are obliged to give information to the provisional

liquidator. They and any other party with information regarding the affairs or property of the

                                                 8
 21-11733-lgb       Doc 4    Filed 10/05/21 Entered 10/05/21 17:17:24             Main Document
                                          Pg 9 of 105



company can, if the Bermuda Court so orders, be required to answer written or oral questions under

oath. See Companies Act 1981, § 195(1), (2) (Berm.). The Bermuda Court can also order summary

turnover of assets or documents of the company to the provisional liquidator. See id §§ 186, 195(3).

               2.      Powers and Duties of Provisional Liquidators

       29.     The powers and duties of a provisional liquidator are the powers of a liquidator

under the Bermuda Companies Act, but may be prescribed and limited by the terms of the order

appointing them. A provisional liquidator is an officer of the Bermuda Court that is subject to the

control and supervision of the Bermuda Court, and, when a provisional liquidator is appointed

prior to the making of a winding-up order, their role is usually to ascertain, oversee, and preserve

the assets of the company pending the resolution of the winding-up petition, for the benefit of

creditors or members (i.e., equity holders). A provisional liquidator may be appointed prior to the

making of a winding-up order with limited “light-touch” powers for the purposes of facilitating a

restructuring, while the management of the company remains in control of the company, subject

to the oversight of the provisional liquidator. A provisional liquidator is required to be independent

from the management of a company and its creditors or members and is required to act in an even-

handed fashion between creditors or members or groups of creditors or members (i.e., for the

benefit of the company’s creditor or shareholder body as a whole and not just a single creditor or

member or group of creditors or members) and in accordance with the terms of the order appointing

them. They are required to act fairly and honourably and may be required to forgo strict legal rights

if they are incompatible with moral justice and honest dealings. See Ex Parte James (1873–74) LR

9 Ch. App. 609, 614, applied, e.g., In re Wyvern Devs. Ltd. [1974] 1 WLR 1097. Provisional

liquidators must seek approval of their fees from the Bermuda Court.

       30.     A provisional liquidator may be removed by the Bermuda Court for cause. Any

creditor or shareholder may apply to the Bermuda Court with respect to any exercise or proposed
                                                  9
 21-11733-lgb     Doc 4     Filed 10/05/21 Entered 10/05/21 17:17:24            Main Document
                                        Pg 10 of 105



exercise of any of the powers of the liquidator under the Bermuda Companies Act, section 175(3),

and any person who is dissatisfied by any act, omission, or decision of the liquidator may apply

under the Bermuda Companies Act, section 176(5), to the Bermuda Court, which may reverse or

modify such act. The provisional liquidator may apply for directions from the Bermuda Court

under the Bermuda Companies Act, section 176(3).

         B.    Schemes of Arrangement Under the Laws of Bermuda

         31.   A scheme of arrangement is a statutory process under sections 99 and 100 of the

Bermuda Companies Act whereby a compromise or arrangement between a company and its

creditors or members (or any classes of its creditors or members) can become binding on the

company and all of its affected creditors or members if (a) approved at a Bermuda Court-directed

meeting(s) by a majority in number, representing at least 75% in value, of those present and voting

at the meeting(s) of each class of affected creditors or members and (b) sanctioned by the Bermuda

Court.

         32.   A scheme of arrangement under the Bermuda Companies Act, like an English

scheme of arrangement, is a flexible mechanism that can be used to encompass a large variety of

compromises or arrangements between a company, whether solvent or insolvent, and its creditors

or members. A scheme of arrangement is a useful tool for restructuring all or a certain part of a

company’s debt or effecting an agreement among the company and its creditors or members. A

company does not need to be insolvent, or near insolvency, to propose and implement a scheme

of arrangement. In fact, schemes of arrangement under section 99 of the Bermuda Companies Act

are the current typical manner used to implement solvent restructurings in Bermuda.

         33.   A compromise or arrangement of the type envisaged here has the effect of

discharging liabilities of the company concerned and, therefore, can facilitate the winding-up or

restructuring of a company, as applicable.
                                                10
 21-11733-lgb        Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24           Main Document
                                         Pg 11 of 105



       34.     The Bermuda Companies Act requires the following to occur in order for a scheme

of arrangement to become legally binding on the company and on all of the creditors or members

to whom it applies:

               (a)     the convening by the Bermuda Court of meeting(s) of the class or classes of
                       creditors or members affected by the scheme of arrangement to vote on its
                       approval;

               (b)     the issuance of an “explanatory statement” (which I understand to be similar
                       to a disclosure statement under the Bankruptcy Code) to the affected
                       creditors or members explaining the effect of the scheme of arrangement
                       and addressing certain other statutory requirements;

               (c)     notification to affected parties of the date and time of the court-directed
                       scheme meeting(s);

               (d)     the approval of the scheme of arrangement by a majority in number
                       representing at least 75% in value of the class or classes of creditors or
                       members present and voting in person or by proxy at the scheme meeting(s)
                       convened for such purpose;

               (e)     the sanction of the scheme of arrangement by the Bermuda Court following
                       a full hearing (which I understand to be similar to a confirmation hearing
                       under the Bankruptcy Code) of a petition to sanction the scheme; and

               (f)     the delivery of a copy of the order of the Bermuda Court sanctioning the
                       scheme to the Registrar of Companies within such period as may be
                       specified by order of the Bermuda Court or the scheme itself.

       35.     A scheme of arrangement cannot be sanctioned by the Bermuda Court unless the

Bermuda Court is satisfied, among other things, that (a) the scheme of arrangement is in all

circumstances fair and reasonable and (b) the classes of creditors or members voting in respect of

the scheme of arrangement have been properly constituted. See In re Telewest Commc’ns Plc

[2004] EWHC 1466 (Ch), [36]–[40]. Without the Bermuda’s Court sanction of a scheme, a

company cannot implement such scheme.




                                                11
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24            Main Document
                                        Pg 12 of 105



               1.     Practice Statement Letter, Application, and Convening Order

       36.     The scheme process begins when a company (a) issues a practice statement letter

in accordance with Circular No. 18 of 2007 of the Bermuda Court to the creditors or members

affected by the scheme (this being a requirement for creditors’ schemes only) and then (b) submits

an application to the Bermuda Court seeking a hearing of the Bermuda Court to convene a scheme

meeting(s) of the relevant class or classes of the company’s creditors or members proposed to be

subject to the scheme to enable such parties to consider and vote on the proposed scheme of

arrangement.

       37.     The purpose of a practice statement letter is to inform the creditors or members

subject to the scheme of (i) the company’s intention to promote a scheme, (ii) the purpose that the

scheme is designed to achieve, (iii) the class composition of the creditors or members subject to

the scheme for the purpose of voting on the scheme at the scheme meeting(s), and (iv) a company’s

intention to apply to the Bermuda Court to seek an order convening a meeting or meetings of the

creditors or members subject to the scheme for the purpose of voting on the scheme. Applications

for a convening order at a convening hearing are usually made ex parte. However, scheme creditors

will be put on notice that a convening hearing is scheduled to occur through a practice statement

letter, and such notice may also be given to members in a relation to a members’ scheme convening

hearing.

       38.     In designating and determining the appropriate class or classes of creditors or

members for the purpose of voting on a scheme of arrangement, a company must consider whether

the rights of the creditors or members within such class are not so dissimilar with respect to the

company, both as such rights exist before the scheme and afterwards, so as to make it impossible

for them to consult together in relation to the proposed compromise or arrangement with a view to

their common interest. See Circular No. 18 of 2007 (Berm.); In re Hawk Ins. Co Ltd [2001] EWCA
                                                12
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24            Main Document
                                        Pg 13 of 105



Civ 241, [26]; In re UDL Holding Ltd [2002] 1 HKC 172, 185–94 (Lord Millett NPJ); In re T&N

Ltd. (No. 4) [2006] EWHC 1447 (Ch), [85]–[87]; In re Lehman Bros. Int’l (Eur.) (Admin.) [2018]

EWHC 1980 (Ch), [70].

       39.     At a convening hearing, the Bermuda Court will consider the composition of the

proposed class or classes of creditors or members, the nature of the proposed restructuring, and

the contents of the explanatory statement prior to making an order convening any scheme meeting.

               2.      Notice of Scheme Meetings and Explanatory Statement

       40.     Once an order convening the scheme meeting(s) has been issued, notice of the

scheme meeting(s) must be given to all affected creditors or members prior to the meeting(s) in

accordance with that order and the Bermuda Companies Act. Such notice must be accompanied

by an explanatory statement that contains sufficient information regarding the company and

explaining the effect of the scheme of arrangement following consummation, so as to allow a

typical creditor or member to make a reasonable decision whether or not to support the proposed

scheme of arrangement. See Companies Act § 100(1); In re APP China Grp. Ltd. [2003] Bda LR

50. The explanatory statement provides disclosure regarding the procedures to take place in the

scheme. In particular, it must set out information regarding the proposals for the scheme, the

affected creditors or members, the constitution of the creditor or member class or classes, material

interests of directors, the scheme meeting or meetings, voting, and guidance on how scheme

creditors or members may participate in the scheme of arrangement. I understand and have been

advised by Skadden, Arps, Slate, Meagher, & Flom LLP, U.S. counsel (the “U.S. Counsel”) to

Simon Appell of AlixPartners UK LLP and John C. McKenna of Finance & Risk Services Ltd., in

their capacities as the joint provisional liquidators and authorized foreign representatives of the

Debtors (in such capacities, the “JPLs” or the “Foreign Representatives”), that an explanatory

statement is comparable to the disclosure statement required under section 1125 of the Bankruptcy
                                                13
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24            Main Document
                                        Pg 14 of 105



Code for solicitation of votes on a chapter 11 plan. Creditors or members are entitled to attend the

scheme meeting in person, by authorized representative (if a corporate entity) or by proxy and may

ask the scheme meeting’s chairperson questions regarding the proposed scheme of arrangement

and raise objections which must be recorded in the report of the meeting submitted to the Bermuda

Court by the chairperson of the meeting.

               3.      Voting

       41.     As noted above, each class of affected creditors or members will consider and vote

on the proposed schemes of arrangement. Similar to U.K. schemes, Bermuda schemes require a

majority in number representing at least 75% in value of those present and voting in person or by

proxy at the scheme meeting of each class or classes of creditors or members to vote in favour of

the scheme of arrangement in order for the Bermuda Court to have jurisdiction to sanction the

scheme of arrangement. If any class of affected creditors or members does not approve the scheme

(by the requisite majorities described in the foregoing sentence), the scheme cannot be sanctioned

by the Bermuda Court and will not take effect. In other words, nonconsenting affected creditors or

members can be bound by the terms of a scheme of arrangement only if all of the classes of affected

creditors or members vote by the requisite majorities in favour of the scheme. Thus, unlike the

confirmation provisions of chapter 11 of the Bankruptcy Code, as explained to me by U.S.

Counsel, cross-class cramdown is not permissible.

       42.     The voting majorities are confirmed by the chairperson at the scheme meeting(s).

To confirm the voting majorities, the chairperson tabulates the votes of affected scheme creditors

or members submitted at each scheme meeting. The chairperson is often assisted in this task by an

adviser appointed specifically to assist the company with, among other things, the task of

tabulating votes. If the requisite majorities of attending and voting creditors or members approve



                                                14
 21-11733-lgb        Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24             Main Document
                                         Pg 15 of 105



the scheme of arrangement, the chairperson provides a report and sworn statement as evidence

thereof.

               4.      Bermuda Court Sanction of Schemes of Arrangement

       43.     Assuming the requisite majorities have been obtained at the scheme meetings, a

company must petition the Bermuda Court to sanction the scheme of arrangement at a sanction

hearing for it to become binding on all of the affected scheme creditors or members, whether or

not they voted in favour of the scheme of arrangement. I understand and have been advised by

U.S. Counsel that a sanction hearing is comparable to a confirmation hearing on a chapter 11 plan

of reorganization under Bankruptcy Code section 1128. Similar to a confirmation hearing, at a

sanction hearing all of the creditors or members of a company who are intended to be bound by

the scheme have, subject to compliance with the Bermuda Court’s directions, an opportunity to

raise objections to the scheme of arrangement and to present evidence, which is consistent with

U.S. standards of due process.

       44.     Following the sanction hearing, the Bermuda Court may sanction a scheme of

arrangement unconditionally, sanction a scheme of arrangement conditionally upon certain

modifications or amendments to the scheme of arrangement, or refuse to sanction the scheme of

arrangement.

       45.     The Bermuda Court will consider five criteria in exercising its discretion as to

whether or not to sanction a scheme. See In re Telewest Commc’ns Plc [2004] EWHC 1466 (Ch).

In particular, the Bermuda Court must be satisfied that:

               (a)     sufficient steps have been taken to identify and notify all interested parties;

               (b)     the statutory requirements and all directions of the Bermuda Court have
                       been complied with;

               (c)     the class or classes of creditors or members are properly constituted;


                                                 15
 21-11733-lgb        Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24           Main Document
                                         Pg 16 of 105



               (d)     no issue of coercion must arise; and

               (e)     the compromise or arrangement proposed under the scheme of arrangement
                       is such that an intelligent and honest man, being a member of the relevant
                       class of scheme creditors or members concerned and acting in respect of his
                       interests, might reasonably approve it.

       46.     Further, the Bermuda Court will not sanction a scheme of arrangement unless it is

satisfied that the scheme is in all circumstances fair and reasonable. See id. at [38]; Circular No.

18 of 2007 (Berm.); In re Hawk Ins. Co. Ltd. [2001] EWCA Civ 241; In re UDL Holding Ltd.

[2002] 1 HKC 172, 185–94 (Lord Millett NPJ); In re T&N Ltd. [2006] EWHC 1447 (Ch), [85]–

[87]; In re Lehman Bros. Int’l (Eur.) (Admin.) [2018] EWHC 1980 (Ch), [70]. In addition, the

Bermuda Court will not sanction a scheme that is ultra vires. See In re Oceanic Steam Navigation

Co. Ltd. [1939] 1 Ch 41. The Bermuda Court does not judge the business merits of proposed

schemes and generally refrains from second-guessing commercial decisions made at a scheme

meeting or meetings.

       47.     If the Bermuda Court issues a sanction order sanctioning a scheme of arrangement,

the scheme will only take effect once a copy of the Bermuda Court’s order sanctioning the scheme

has been delivered to the Bermuda Registrar of Companies. Upon such delivery, the scheme is

binding and effective on all affected creditors or members according to its terms, irrespective of

whether such creditor or member (a) actually received notice pursuant to the methods of notice

required by and approved in the convening order, (b) participated at any scheme meeting, or

(c) voted at any scheme meeting. The ultimate legal effect of the arrangement envisaged by the

scheme of arrangement can, in limited circumstances, be subject to additional conditions as agreed

to between the company and its creditors or members as part of the scheme of arrangement.




                                                16
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24            Main Document
                                        Pg 17 of 105



               5.     Similarity to Schemes of Arrangement Under the Laws of the United
                      Kingdom

       48.     The provisions of the Bermuda Companies Act governing schemes of arrangement

under the laws of Bermuda are modeled after and similar to the provisions of the laws of the United

Kingdom governing schemes of arrangement, which are set forth in Part 26 of the UK Companies

Act 2006. Indeed, sections 99 and 100 of the Bermuda Companies Act were copied from the UK

Companies Act 1948, a predecessor to the UK Companies Act 2006. Part XIII of the Bermuda

Companies Act and the Companies (Winding-Up) Rules 1982 were also modeled after the UK

Companies Act 1948 and related statutory rules.

       49.     Courts in Bermuda have recognized how closely the relevant provisions of the

Bermuda Companies Act and the UK Companies Act 2006 parallel each other. As a result,

decisions of the courts of England and Wales regarding schemes of arrangement under the UK

Companies Act 2006 and its predecessors have persuasive effect before the Bermuda Court. See,

e.g., In re APP China Grp. Ltd. [2003] Bda LR 50.

V.     Situs of Shares in a Bermuda Company

       50.     The situs of shares in a Bermuda company is at the registered office of the company

at which its register of members is kept. See Int’l Credit and Inv. Co. (Overseas) Ltd. and Another

v. Adham and Others [1994] 1 BCLC 66. Section 65(2) of the Bermuda Companies Act provides

that a company’s register must be kept at its registered office. The situs of shares in a Bermuda

company is therefore Bermuda. See id.


                                        BACKGROUND

I.     Overview of the Debtors

       51.     Each of the Debtors is incorporated in Bermuda and each has its registered office

located at Crawford House, 50 Cedar Avenue, Hamilton, HM11, Bermuda.

                                                17
 21-11733-lgb        Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24           Main Document
                                         Pg 18 of 105



       52.     I have been apprised that:

       (a)     The physical location of the Debtors’ headquarters is in Bermuda and the Debtors
               maintain offices in no other locations.

       (b)     The Debtors’ central administration, management, and control takes place in
               Bermuda, and all key management decisions are generally made there. Further, all
               board meetings of the Debtors are typically held telephonically, but a majority of
               the Debtors’ board members reside in Bermuda. Mr. McKenna, who resides in
               Bermuda, and Mr. Appell have monitored the Debtors’ affairs since their
               appointment as JPLs, pursuant to the JPL Appointment Orders. In addition, the
               powers of the orders, include, but are not limited to, evaluating and providing
               critical input on the proposed Restructuring, and supporting filings and applications
               to the Bermuda Court.

       (c)     The primary assets of the Public Fund, the Private Fund, and the Reinsurer include
               amounts held in bank accounts held with HSBC in Bermuda. Further, the Debtors
               maintain the majority of their bank accounts in Bermuda. The Manager’s primary
               assets include 100% of the voting stock of the Reinsurer and the Private Fund. The
               other Debtors also directly or indirectly hold shares in the Reinsurer.

Appell Decl. ¶ 55.

II.    The Bermuda Proceedings

       53.     On September 27, 2021, the Debtors commenced the Provisional Liquidation

Proceedings by filing winding-up petitions, true and correct copies of which are attached as

Exhibits A-1 to A-4 hereto (the “Winding-Up Petitions”), with the Bermuda Court and making

applications seeking the appointment of the JPLs as joint and several provisional liquidators of the

Debtors with limited “light-touch” powers.

       54.     On October 1, 2021, the Bermuda Court made the JPL Appointment Orders, copies

of which are attached to the Chapter 15 Petitions as Exhibit A, appointing Simon Appell and John

C. McKenna as the JPLs. The JPL Appointment Orders mandated that the JPLs are to, among other

things, monitor, consult with, and oversee the Debtors’ existing boards of directors. As such, while

the Debtors’ existing boards of directors remain in place, the JPLs will provide a supervisory role

and in that capacity ensure that stakeholders’ interests are considered. The JPL Appointment


                                                18
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24           Main Document
                                        Pg 19 of 105



Orders also appointed the JPLs as the Debtors’ foreign representatives and authorized them to seek

recognition of the Bermuda Proceedings under Chapter 15.

       55.     I understand that the Debtors intend to commence the Scheme Proceedings to

implement the buy-out transaction that Markel Corporation has decided to make available to the

Public Fund and the Private Fund (the “Buy-Out Transaction” and the implementation of such

Buy-Out Transaction, the “Restructuring”) contemplated by the Schemes in the near term.

III.   The Chapter 15 Cases

       A.      The Bermuda Proceedings Are “Foreign Proceedings.”

       56.     I am advised by U.S. Counsel that “foreign proceeding” is defined in section

101(23) of the Bankruptcy Code to mean:

               a collective judicial or administrative proceeding in a foreign country,
               including an interim proceeding, under a law relating to insolvency or
               adjustment of debt in which proceeding the assets and affairs of the debtor
               are subject to control or supervision by a foreign court, for the purpose of
               reorganization or liquidation.

11 U.S.C. § 101(23).

       57.     Although the application of section 101(23) of the Bankruptcy Code is ultimately

a question of U.S. law on which I am not qualified to opine, based on my reading of the language

of the section, I believe that both the Provisional Liquidation Proceedings and the contemplated

Scheme Proceedings would fall within it.

               1.      Each of the Bermuda Proceedings Is a “Proceeding.”

       58.     Both provisional liquidation proceedings and schemes of arrangement are

proceedings in Bermuda governed by the Bermuda Companies Act, a statutory framework that, as

set forth above, constrains a company’s actions, regulates the final distribution of a company’s

assets, and includes acts and formalities set down in law so that courts, merchants, and creditors

know them in advance.

                                               19
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24             Main Document
                                        Pg 20 of 105



               2.      The Bermuda Proceedings Are Judicial or Administrative in
                       Character.

       59.     Similarly, provisional liquidation proceedings and schemes of arrangement are both

judicial and administrative in character. As set forth above, under Bermuda law, provisional

liquidators are officers of the Bermuda Court and their role is usually to ascertain, oversee, and

preserve the assets of a company. In addition, they are required to be independent from

management and the company’s creditors and other stakeholders and are required to behave in an

even-handed fashion among creditors and other stakeholders.

       60.     The exercise of the JPLs’ power is subject to the control and supervision of the

Bermuda Court. Thus, while many of a liquidator’s tasks are administrative in nature (e.g.,

collecting, protecting, and realizing assets, reporting to the court and to creditors or members),

provisional liquidation proceedings and scheme proceedings are also judicial in character because

they are conducted before and under the supervision of the Bermuda Court.

       61.     Moreover, the proposed Scheme Proceedings are also judicial in character because

there will be significant judicial involvement in the scheme process. As noted above, there will be

a convening hearing, scheme meetings, and a sanction hearing for the proposed Schemes. Further,

before the Bermuda Court sanctions a scheme of arrangement, it must be satisfied that the

compromise or arrangement proposed thereunder is such that an intelligent and honest man, being

a member of the relevant class of scheme creditors or members concerned and acting in respect of

his interests, might reasonably approve it. Without the Bermuda Court’s sanction, the Debtors

cannot implement the proposed Schemes.

               3.      The Bermuda Proceedings Are Collective in Nature.

       62.     Provisional liquidation proceedings and schemes of arrangement are also collective

in nature and provide due process to all parties whose rights and interests will be directly impacted


                                                 20
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24          Main Document
                                        Pg 21 of 105



by them, as explained above. Provisional liquidation proceedings and scheme proceedings are

collective proceedings because they are conducted for the benefit of a company’s creditor or

member body as a whole (or the whole class or classes of creditors or members intended to be

bound by the scheme), and not just a single creditor or member. Provisional liquidators have the

duty to obtain and protect a company’s property pursuant to the provisions of the Bermuda

Companies Act, which further reflects the collective nature of Bermuda liquidation proceedings

generally. The Bermuda Proceedings will be utilized to implement the restructuring pursuant to

the proposed Schemes, which will be a Bermuda Court-supervised arrangements between the

Debtors and their stakeholders.

       63.     Those parties that will be bound by the Schemes will be entitled to vote on the

Schemes at the scheme meetings convened by order of the Bermuda Court, and are entitled to be

heard at both the convening hearing and the sanction hearing. Moreover, no matter whether or how

an individual stakeholder may have voted, the Schemes are intended to deal with stakeholders

collectively, rather than any single stakeholder alone. Indeed, once the Schemes are implemented,

subject to entry and delivery of the order sanctioning the Schemes to the Bermuda Registrar of

Companies and satisfaction of all conditions precedent to the Restructuring, they will be binding

on all stakeholders.

               4.      The Bermuda Proceedings Are Located in a Foreign Country.

       64.     The Bermuda Proceedings are or, in the case of the Scheme Proceedings once

commenced, will be located in Bermuda. The Provisional Liquidation Proceedings are currently

pending before the Bermuda Court, the court responsible for the resolution of insolvency cases in

Bermuda. Further, the proposed Scheme Proceedings will also be commenced in and subject to

the jurisdiction of the Bermuda Court.



                                               21
 21-11733-lgb       Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24             Main Document
                                        Pg 22 of 105



               5.      The Bermuda Proceedings Are Authorized or Conducted Under a
                       Law Related to Insolvency or the Adjustment of Debts.

       65.     The Bermuda Proceedings currently are or are contemplated to be authorized and

conducted under the Bermuda Companies Act, which is the Bermudian law that governs the

insolvency of companies in Bermuda. As noted above, a liquidation proceeding is not only

conducted under Bermuda’s general insolvency law, the Bermuda Companies Act, but also

pursuant to the Companies (Winding-Up) Rules 1982 and Bermuda common law principles, which

are similar to the English Companies Act 1948, related statutory rules, and English common law.

       66.     Further, a scheme of arrangement under the Bermuda Companies Act, like an

English scheme, is a flexible mechanism that can be used to encompass a large variety of

compromises or arrangements between a company and its stakeholders. In particular, a scheme of

arrangement is a useful tool for restructuring all or a certain part of a company’s debt or otherwise

effecting an agreement among a company and its creditors or members.

               6.      Under the Bermuda Proceedings, the Debtors’ Assets and Affairs Are
                       To Be Subject to the Control or Supervision of a Foreign Court.

       67.     The Debtors’ assets and affairs are to be subject to the control of the Bermuda Court

during the Bermuda Proceedings. As noted above, the JPLs’ powers are subject to the control and

supervision of the Bermuda Court. Under the JPL Appointment Orders, the JPLs are also to

provide a written report to the Bermuda Court from time to time and as the JPLs consider

appropriate or as the Bermuda Court may otherwise request. See JPL Appointment Orders ¶ 3(e).

All parties that are intended to be bound by the Schemes will have the opportunity to seek the

assistance of the Bermuda Court by raising objections at the convening hearing or the sanction

hearing. The Bermuda Court also possesses the authority to sanction (or decline to sanction) a

scheme following the sanction hearing, and thereby determine whether or not the Debtors will

obtain the relief sought.

                                                 22
 21-11733-lgb        Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24             Main Document
                                         Pg 23 of 105



               7.      The Foreign Proceedings Are for the Purpose of Reorganization or
                       Liquidation of the Debtors.

       68.     Finally, the purpose of Bermuda provisional liquidation proceedings and schemes

of arrangement is liquidation or, as contemplated here, reorganization and, specifically, to effect

an agreement among the company and its creditors and/or members. I understand that the purpose

of the Bermuda Proceedings is a fair and equitable distribution of the Debtors’ assets to their

stakeholders through the Restructuring to be effectuated by the Schemes. See Appell Decl. ¶ 41. I

understand further that the JPLs are administering the Bermuda Proceedings together with the

Debtors for the purpose of providing a stable platform for them to carry out the Restructuring.

Appell Decl. ¶ 41.

       B.      The Foreign Proceedings are “Foreign Main Proceedings”

       69.     I am also advised by U.S. Counsel that a “foreign main proceeding” is a foreign

proceeding pending in a country where a debtor has the centre of its main interests.

       70.     I understand from U.S. Counsel that in addition to giving a presumption in favour

of a debtor’s registered office (which, here, as noted above, is Bermuda for all of the Debtors),

courts have identified various factors relevant in identifying a debtor’s center of main interests,

including, among other things, (a) the location of a debtor’s headquarters (which, here, as noted

above, is Bermuda for all of the Debtors); (b) the location of those persons or entities that actually

manage a debtor (which, here, as noted above, is Bermuda for the management, a majority of the

board members, and one of the JPLs for each of the Debtors); and (c) the location of a debtor’s

primary assets (which, here, in addition the Debtors’ bank accounts in Bermuda, the primary assets

of the Public Fund, the Private Fund, and the Reinsurer include amounts held in bank accounts

held with HSBC in Bermuda, and the primary asset of the Manager is the voting stock it holds in

the Reinsurer and the Private Fund). As set forth above, the situs of shares in a Bermuda company


                                                 23
    21-11733-lgb       Doc 4     Filed 10/05/21 Entered 10/05/21 17:17:24                   Main Document
                                             Pg 24 of 105



is at the registered offices of the company at which its register of members is kept. The situs of

shares in a Bermuda company is therefore Bermuda.

          C.      The JPLs Are “Foreign Representatives.”

          71.     I am also advised by U.S. Counsel that “foreign representative” is defined in

Bankruptcy Code section 101(24) to mean:

                  a person or body, including a person or body appointed on an interim basis,
                  authorized in a foreign proceeding to administer the reorganization or the
                  liquidation of the debtor’s assets or affairs or to act as a representative of
                  such foreign proceeding.

11 U.S.C. § 101(24).

          72.     Again, the application of Bankruptcy Code section 101(24) is ultimately a question

of U.S. law on which I am not qualified to opine, but, in my view, the JPLs constitute “foreign

representatives” based on a plain reading of the language of the section.3 Under Bermuda law, they

have been appointed by the Bermuda Court on an interim basis to oversee and assist in the

reorganization of the Debtors’ affairs, and they have been authorized by the Bermuda Court to,

among other things, seek recognition under chapter 15 of the United States Bankruptcy Code.

Specifically, the JPLs were authorized by the JPL Appointment Orders to, among other things, to

seek any relief available to a “foreign representative” under chapter 15 of the U.S. Bankruptcy

Code, including commencing the Chapter 15 Cases, filing petitions and any other documents,

motions, affidavits, or similar documents, and otherwise seeking assistance from the bankruptcy

courts, including recognition and enforcement under the provisions of the Bankruptcy Code of any

order entered by the Bermuda Court in relation to the Restructuring; and to take such other action



3
      I am advised by U.S. Counsel that the Bankruptcy Code creates a presumption if the decision commencing the
      foreign proceeding and appointing the foreign representative indicates that the person or body is a “foreign
      representative.” Here, as noted above, the JPL Appointment Orders indicate that the JPLs are “foreign
      representatives.”

                                                        24
 21-11733-lgb     Doc 4    Filed 10/05/21 Entered 10/05/21 17:17:24         Main Document
                                       Pg 25 of 105



in the United States of America or elsewhere as deemed necessary or appropriate in furtherance

and support of the Restructuring. JPL Appointment Orders ¶ 3(j).




                                              25
 21-11733-lgb     Doc 4    Filed 10/05/21 Entered 10/05/21 17:17:24          Main Document
                                       Pg 26 of 105



              WHEREFORE, pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury

that the foregoing statements are true and correct to the best of my knowledge, information, and

belief.

 Dated: Hamilton, Bermuda             •
        October 5, 2021               •
                                      •

                                      •   /s/ Kehinde George
                                          Kehinde George




                                              26
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 27 of 105




                                 EXHIBIT A-1

           Winding-Up Petition of Markel CATCo Reinsurance Fund Ltd.
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 28 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 29 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 30 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 31 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 32 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 33 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 34 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 35 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 36 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 37 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 38 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 39 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 40 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 41 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 42 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 43 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 44 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 45 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 46 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 47 of 105



                                 EXHIBIT A-2

        Winding-Up Petition of CATCo Reinsurance Opportunities Fund Ltd.
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 48 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 49 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 50 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 51 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 52 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 53 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 54 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 55 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 56 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 57 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 58 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 59 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 60 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 61 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 62 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 63 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 64 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 65 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 66 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 67 of 105



                                 EXHIBIT A-3

        Winding-Up Petition of Markel CATCo Investment Management Ltd.
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 68 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 69 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 70 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 71 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 72 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 73 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 74 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 75 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 76 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 77 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 78 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 79 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 80 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 81 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 82 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 83 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 84 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 85 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 86 of 105



                                 EXHIBIT A-4

                  Winding-Up Petition of Markel CATCo Re Ltd.
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 87 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 88 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 89 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 90 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 91 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 92 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 93 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 94 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 95 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 96 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 97 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 98 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 99 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 100 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 101 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 102 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 103 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 104 of 105
21-11733-lgb   Doc 4   Filed 10/05/21 Entered 10/05/21 17:17:24   Main Document
                                   Pg 105 of 105
